

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS





NO. WR-22,235-02






AUBREY JUAN WILLIAMS, Relator


v.


DALLAS DISTRICT CLERK, Respondent






ON APPLICATION FOR A WRIT OF MANDAMUS

CAUSE NO. W04-54679-T IN THE 283RD JUDICIAL DISTRICT COURT

FROM DALLAS COUNTY





	Per curiam.


O R D E R




	Relator has filed a motion for leave to file a writ of mandamus pursuant to the original
jurisdiction of this Court.  In it, he  contends that he  filed an application for a writ of habeas corpus
in the 283rd Judicial District Court of Dallas County, that more than 35 days have elapsed, and that
the application has not yet been forwarded to this Court. Relator argues that an Order Designating
Issues was signed on November 17, 2008, but that it was untimely and, therefore, of no effect.
Gibson v. Dallas County Dist. Clerk, 275 S.W.3d 491, 492 (Tex. Crim. App. 2009). 

	 In these circumstances, additional facts are needed.  The respondent, the District Clerk of 
Dallas County, is ordered to file a response, which may be made by: submitting the record on such
habeas corpus application; submitting a copy of a timely filed order which designates issues to be
investigated, see McCree v. Hampton, 824 S.W.2d 578 (Tex. Crim. App. 1992); stating that the
nature of the claims asserted in the application filed by Relator is such that the claims are not
cognizable under Tex. Code Crim. Proc. art 11.07, § 3; or stating that Relator has not filed an
application for habeas corpus in Dallas County.  If the trial court signed an order designating issues
and the respondent believes the order was timely, the response shall contain proof of the date the
State was served with the application and a copy of the order designating issues. This application for
leave to file a writ of mandamus shall be held in abeyance until the respondent has submitted the
appropriate response.  Such response shall be submitted within 30 days of the date of this order.



Filed:  May 13, 2009

Do not publish	


